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 2                                 UNITED STATES DISTRICT COURT

 3                                        DISTRICT OF NEVADA
 4
                                                     ***
 5    UNITED STATES OF AMERICA,                        Case No. 3:17-cr-00114-LRH-CLB

 6                                           Plaintiff, ORDER

 7            v.

 8    DEVENDRA I. PATEL M.D., a.k.a.,
      DEVENDRAKUMAR I. PATEL M.D.,
 9
                                           Defendant.
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11          Before the court is petitioner/defendant Devandra I. Patel’s Emergency Motion for Order
12   Reducing Sentence or Modifying Judgment under 18 U.S.C. § 3582(c)(1)(A)(i) and Authorizing
13   Any Remaining Portion of Dr. Patel's Sentence to be Served on Home Confinement (ECF No. 87)
14   (commonly identified as a "motion for compassionate relief"). The government opposed the
15   motion (ECF No. 91) and Patel timely replied (ECF No. 92).
16          In support of defendant's motion, defendant has filed under seal the defendant's Bureau of
17   Prison's medical records in two filings (ECF Nos. 88 and 95) which the court has reviewed. In
18   reviewing those records it appears that they are not current, not due to any failure of the defendant,
19   but rather due in part to the delay experienced by the court due to a particularly heavy caseload.
20   Such records cover the period from defendant's incarceration from October 3, 2019, through June
21   1, 2020. The court requests petitioner/defendant Patel to provide the court, under seal, with such
22   medical records which may be available covering the period after June 2, 2020, through the most
23   recent available date.
24          IT IS SO ORDERED.
25          DATED this 6th day of November, 2020.
26                                                          LARRY R. HICKS
                                                            UNITED STATES DISTRICT JUDGE
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